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 6
 7                               IN THE UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,          )            CASE NO. 1:05CR00391-OWW
                                        )
11               Plaintiff,             )
                                        )
12        v.                            )
                                        )            ORDER TO QUASH WRIT
13   ROBERT JOHNSON,                    )            OF ATTACHMENT/GARNISHMENT
                                        )
14               Defendant and          )
                 Judgment Debtor.       )
15   _________________________________ )
                                        )
16   SPHERION PACIFIC WORKFORCE, LLC., )
                                        )
17               Garnishee.             )
     __________________________________ )
18
19
20           A Writ of Attachment/Garnishment was served upon Spherion
21   Pacific Workforce, LLC., Garnishee, on October 8, 2010.              Based upon
22   the letter provided by Garnishee, the United States filed with this
23   Court a Motion to Quash Writ of Attachment/Garnishment, and having
24   reviewed and considered the same,
25   ///
26   ///
27   ///
28   ///

     Order to Quash Writ
     of Attachment/Garnishment

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 1           IT IS HEREBY ORDERED that the Writ is quashed and the
 2   attachment/garnishment against Garnishee, Spherion Pacific Workforce,
 3   LLC., is       terminated.
 4
     IT IS SO ORDERED.
 5
     Dated: January 18, 2011                   /s/ Oliver W. Wanger
 6   emm0d6                               UNITED STATES DISTRICT JUDGE
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     Order to Quash Writ
     of Attachment/Garnishment

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